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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239 (LLA)
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)


  DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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                                        INTRODUCTION

       The President of the United States has authority to direct agencies to implement his agenda

consistent with the law. And federal agencies are legally bound to follow those directives, to the

extent permissible by law. These uncontroversial principles govern this case and require its

dismissal, consistent with binding D.C. Circuit precedent. See, e.g., See Bldg. & Const. Trades

Dep’t v. Allbaugh, 295 F.3d 28, 32 (D.C. Cir. 2002) (“[T]he President’s power necessarily

encompasses ‘general administrative control of those executing the laws,’ throughout the

Executive Branch of government, of which he is the head.” (quoting Myers v. United States, 272

U.S. 52, 164 (1926), citation omitted)); Sherley v. Sebelius, 689 F.3d 776, 784 (D.C. Cir. 2012)

(“[A]s an agency under the direction of the executive branch, it must implement the President’s

policy directives to the extent permitted by law.”).

       Plaintiffs’ opposition memorandum (ECF No. 24) scarcely acknowledges these principles,

let alone the degree to which their claims would intrude on the separation of powers. Specifically,

Plaintiffs’ lawsuit names a single agency as a defendant, and challenges a single agency action that

has now been withdrawn. See Office of Management and Budget (OMB), Mem. M-25-13,

Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs (Jan. 27,

2025) (“OMB Memo”). Yet Plaintiffs—only a handful of whom actually receive Federal grants—

argue that they are entitled to sweeping relief, disabling every Executive Branch agency from

implementing the President’s agenda with respect to all grant recipients. And Plaintiffs expressly

request that this Court become an overseer of all Federal disbursements, with ongoing oversight

through regular status reports. There is simply no legal basis for such claims, and this entire lawsuit

should be dismissed for several reasons.

       First, Plaintiffs have not established standing to seek prospective relief. Even were the

Court to consider the factual declarations submitted by Plaintiffs, they cannot overcome the


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fundamental problem that it is speculative whether any alleged injuries are caused by the

challenged OMB Memo (as opposed to independent agency actions), or redressable by an Order

from this Court against the OMB Memo. Moreover, because this suit challenges only the OMB

Memo, their claims against that Memo are moot.

       Second, Plaintiffs make several important concessions narrowing the scope of their claims.

Plaintiffs concede that they cannot challenge the President’s Executive Orders, and they likewise

concede that they cannot challenge non-defendant agencies’ implementation of those Executive

Orders. These limitations on Plaintiffs’ claims are critical to avoid intruding even further into the

Executive Branch’s lawful authorities. Thus, to the extent Plaintiffs’ claims are allowed to proceed

in any fashion, the Court should codify these concessions in a dismissal Order confirming that

Plaintiffs’ claims here are not challenging the President’s Executive Orders or non-defendant

agencies’ implementation of those Orders.

       Third, even as to the OMB Memo, Plaintiffs are not challenging a discrete, final agency

action. The OMB Memo did not itself institute a pause or delay of any federal funding, and thus

it did not determine legal rights or consequences. Moreover, Plaintiffs’ efforts to characterize their

claims as challenging something broader than the OMB Memo—i.e., a “federal funding freeze”

apart from what’s reflected in the OMB Memo, Opp’n at 25—only underscores that they are

bringing a broad programmatic challenge that, if allowed to proceed, will place this Court in the

untenable role of overseeing the entire Executive Branch’s funding decisions.

       Finally, on the merits, each of Plaintiffs’ claims fails. Consistent with binding D.C. Circuit

precedent, the OMB Memo directs agencies to implement the President’s agenda to the extent

permissible under each agency’s own authorities. That is common, well within OMB’s statutory

authorities, and is not arbitrary and capricious—indeed, OMB was duty-bound to effectuate the




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President’s agenda. Plaintiffs’ First Amendment claim likewise fails because the Government is

allowed to choose what programs it funds without running afoul of the First Amendment. Nothing

in the OMB Memo penalizes Plaintiffs for their speech, and instead the Memo directs agencies to

institute a temporary pause in connection with determining the policies to which taxpayer money

should be directed. That is not a First Amendment violation, and for all of these reasons, Plaintiffs’

Complaint should be dismissed in its entirety.

                                           ARGUMENT

I.     THIS COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS

       A.      Plaintiffs Lack Standing to Seek Prospective Relief

       Notwithstanding the additional information submitted in Plaintiffs’ Opposition, they still

have failed to establish “injury in fact” that is “fairly . . . traceable to the challenged action” and

“redress[able] by a favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

               1.      Injury in Fact

       First, Plaintiffs state in conclusory fashion that “Plaintiffs and their members will suffer

constitutional injury from the freeze’s direct burdening of their First Amendment rights of speech

and association.” Opp’n at 14. Even for First Amendment claims, however, “in order to have

standing, an individual must present more than allegations of a subjective chill. There must be a

claim of specific present objective harm or a threat of specific future harm.” Bigelow v. Virginia,

421 U.S. 809, 816-17 (1975). And here, Plaintiffs nowhere identify the specific expressive activity

for which they claim they are being penalized, or how the OMB Memo’s pause as to certain grants

involving certain policies operates as a threat of harm to them specifically. Apart from this

claimed First Amendment interest, Plaintiffs have conceded that the non-grant-recipient

organizations lack standing to sue in their own right, because they have not shown anything more

“than simply a setback to the organization’s abstract social interests.” Food & Drug Admin. v.


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Alliance for Hippocratic Med., 602 U.S. 367, 394 (2024); Defs.’ MTD (ECF No. 21-1) at 9.

       Second, Plaintiffs argue that they have adequately alleged injury to those organizations

that directly receive Federal financial assistance—purportedly APHA and SAGE. Opp’n at 15-

16. But Plaintiffs continue to rely on general assertions—for instance, that APHA “has long

received federal grants and funds to carry out its mission.” Id. at 15. SAGE had one award that

was terminated prior to issuance of the OMB Memo, see ECF No. 5-2 ¶ 12, and it is speculative

whether their other grants would even be subject to the OMB Memo’s pause. Cf. MTD at 9 (citing

OMB Guidance, which stated that “OMB has worked with agencies and has already approved

many programs to continue even before the pause has gone into effect”). Moreover, Plaintiffs still

do not provide any information about when APHA and SAGE next expect grant payments or

disbursements under their relevant federal financial assistance programs, making it wholly

speculative whether they would be affected by any temporary pause. See MTD at 10. Plaintiffs

nevertheless urge that these alleged injuries are not speculative, because the OMB Memo

“commands an indefinite and near-immediate halt” to Federal financial assistance. Opp’n at 16.

But as discussed previously, see MTD at 16-17, that broad characterization is contrary to the OMB

Memo itself as well as OMB Guidance. And in any event, this generalized assertion cannot

substitute for specific information supporting the existence of an alleged direct injury to APHA or

SAGE as a result of a temporary pause. See Defs. of Wildlife, 504 U.S. at 560 (injury must be

“actual or imminent, not conjectural or hypothetical”).

       Third, regarding associational standing, while Plaintiffs have submitted anonymous

declarations from certain members of APHA, MSA, and NCN, see Opp’n at 16 (citing Exs. F-H,

and K), those declarations cannot establish injury-in-fact sufficient for standing purposes, except

as to challenges regarding funding of the specific set of programs described in those declarations.




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As an initial matter, Exhibit F to Plaintiffs’ Opposition purports to be a declaration from a member

of MSA, but the declaration states that the individual joined MSA after the filing of this lawsuit,

see ECF No. 24-6 ¶ 22, and therefore it is irrelevant for standing purposes. See Chamber of

Commerce of U.S. v. EPA, 642 F.3d 192, 200 (D.C. Cir. 2011) (“[S]tanding is assessed as of the

time a suit commences.”). Thus, at most, Plaintiffs only plausibly assert injury to a Plaintiff

member in Exhibits G, H, and K—which relate to a “homeless program[] for a community mental

health center,” the “Wisconsin Shares Child Care Subsidy” program, and an unnamed

“demonstration project to try to address issues of infant mortality and premature birth.” See ECF

No. 24-7 ¶ 5; ECF No. 24-8 ¶ 4; ECF No. 24-11 ¶ 14. It is at best speculative whether, to the

extent OMB were allowed to implement the temporary pause, any of those programs would be

subject to the pause given their apparent focus on providing assistance to individuals. See OMB

Memo at 1 n.1 (exempting “assistance received directly by individuals” from any pause); OMB

Guidance at 1-2. Regardless, the declarations only further emphasize the grant- and fact-specific

nature of the standing analysis, and thus Plaintiffs cannot claim the requisite injury-in-fact for any

relief that applies beyond those specific programs. See Appalachian Voices v. Bodman, 587 F.

Supp. 2d 79, 86 (D.D.C. 2008) (plaintiffs only satisfied injury-in-fact requirement regarding

project site they “asserted that they use and enjoy” and not eight other identified sites that “they

have asserted absolutely no particularized connection to”).

               2.      Causation

       Even assuming injury-in-fact, Plaintiffs fail to establish that any injury is caused by the

challenged OMB Memo, as opposed to independent federal agencies that administer the relevant

programs and are not party to this suit. Plaintiffs respond that the OMB Memo “left agencies with

no discretion.” Opp’n at 17. But the OMB Memo on its face does not determine which funds or

grants should be paused, but rather requires agencies to make that determination, consistent with


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their own authorities. See MTD at 14; OMB Memo at 2 (instructing federal agencies to

temporarily pause certain activities only “to the extent permissible under applicable law”). Thus,

any temporary pause in funding would not necessarily be attributable to the OMB Memo itself, as

opposed to an independent decision by a non-defendant agency pursuant to its own authorities.

       This case is therefore quite similar to the Fifth Circuit’s decision in Louisiana v. Biden, 64

F.4th 674 (5th Cir. 2023), in which Louisiana sought to challenge an executive order requiring the

creation of certain estimates for agencies to use, as consistent with applicable law, when

conducting rulemakings. See id. at 679. The Fifth Circuit held that Louisiana lacked standing to

bring its claims, including because any harms “are traceable to possible agency actions, not to [the

executive order] or the Interim Estimates.” Id. at 684. Similarly here, even if the OMB Memo

influences an agency’s exercise of its authorities, any temporary pause instituted by the agency

would be traceable to that independent agency’s action—not the OMB Memo.

       As a factual matter, moreover, Plaintiffs’ failure to demonstrate causation is further

crystallized by the fact that, after rescission of the OMB Memo, funding has allegedly resumed

for certain Plaintiffs, see, e.g., ECF No. 24-7 ¶ 15, but remains paused for others, see, e.g., ECF

No. 24-8 ¶ 11; ECF No. 24-11 ¶ 19. That just further underscores how speculative it is which

funding pauses are traceable to the now-rescinded OMB Memo, as opposed to independent agency

actions not subject to challenge in this case. Indeed, as noted above, many of the declarations

seem to describe assistance that would not be subject to the OMB Memo’s pause, either because

they involve assistance to individuals or Plaintiffs have not identified a clear link to an implicated

Executive Order. See, e.g., ECF No. 24-6 ¶ 8 (describing grants funding “the development of a

Hyper-Compact Neutron Generator”); ECF No. 24-8 ¶¶ 4–8 (outlining grant program for

“demonstration project to try to address issues of infant mortality and premature birth”); ECF




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No. 24-11 ¶ 2 (describing childcare services funded in part by grants); ECF No. 24-7 ¶¶ 6–10

(describing funding that has resumed for programs regarding the homeless); cf. OMB Memo at 1

n.1; OMB Guidance at 1-2. Given that it is unclear on this record whether these programs fall

within the scope of the OMB Memo’s intended pause, it is speculative whether any funding pause

for these programs was caused by the OMB Memo rather than the “independent action of [a] third

party” Federal agency. Defs. of Wildlife, 504 U.S. at 560.

                3.      Redressability

        Plaintiffs claim that “an injunction on implementation of the M-25-13 funding freeze[]

clearly would redress” their alleged injuries. Opp’n at 17. But Plaintiffs allege pauses in funding

by Federal agencies that are not parties to this lawsuit, and “nonparties” “would not be bound” by

any injunction in this case. Haaland v. Brackeen, 599 U.S. 255, 293 (2023). Thus, regardless of

any injunction that could be entered here, those Federal agencies would remain free to pause

funding of federal financial assistance programs, pursuant to their own discretion or pursuant to

the relevant Executive Orders. Plaintiffs assert that this is a “mere possibility,” Pls.’ Opp’n at 17,

but it is actually a necessary step for any of the Plaintiffs to obtain relief—i.e., unless and until the

relevant agencies exercise their own authorities and elect to disburse funds to Plaintiffs, any relief

against the OMB Memo would not redress Plaintiffs’ injuries. Thus, this Court cannot redress

these alleged injuries, since the federal agencies making independent decisions to pause funding

even after the OMB Memo’s rescission are not parties to this lawsuit, and “an injunction” against

the OMB Memo “would not give [Plaintiffs] legally enforceable protection from the allegedly

imminent harm.” Brackeen, 599 U.S. at 293.

        B.      Plaintiffs’ Claims Are Moot Because the Challenged Action Has Been
                Rescinded

        Plaintiffs’ only claims in this case challenge the OMB Memo and the only Defendants in



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this case are OMB and the Acting Director of OMB. See ECF No. 1 ¶¶ 5-6, 43-61. And Plaintiffs’

requested relief is explicitly tied to the OMB Memo. See id. at 18-19 (prayer for relief asking for

declaratory and injunctive relief relating to “Memo M-25-13”). Because the OMB Memo has

been rescinded, Plaintiffs’ claims are therefore moot.

       In arguing to the contrary, Plaintiffs first respond that the voluntary cessation doctrine

applies here, largely relying on a conclusory assertion that they “can have no assurances that the

government will not simply resume implementing and enforcing the challenged policy going

forward.” Id. at 19.     However, Plaintiffs provide no factual basis for their assertion that the

government might reissue the challenged OMB Memo, and such an assumption would be contrary

to the presumption of good faith that courts routinely accord the government when assessing

voluntary cessation. See, e.g., Am. Cargo Transp., Inc. v. United States, 625 F.3d 1176, 1180 (9th

Cir. 2010) (“The government’s change of policy presents a special circumstance in the world of

mootness . . . unlike in the case of a private party, [the courts] presume the government is acting

in good faith.”); Sossamon v. Lone Star State of Texas, 560 F.3d 316, 325 (5th Cir.

2009) (“[G]overnment actors . . . are accorded a presumption of good faith because they are public

servants, not self-interested private parties. Without evidence to the contrary, we assume that

formally announced changes to official governmental policy are not mere litigation posturing.”);

Coral Springs St. Sys., Inc. v. City of Sunrise, 371 F.3d 1320, 1328–29 (11th Cir. 2004)

(“[G]overnmental entities and officials have been given considerably more leeway than private

parties in the presumption that they are unlikely to resume illegal activities.”).

       Plaintiffs further suggest that rescission of the OMB Memo was “an attempt at

manipulation of [the Court’s] jurisdiction.” Opp’n at 19 (citation omitted). But the only evidence

Plaintiffs point to is a statement that demonstrates the opposite, i.e., a goal of ending confusion.




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See id. at 10, 20. This statement did not suggest the rescission was litigation posturing, as opposed

to focusing on the legal effect of the President’s recent Executive Orders.

       Next, Plaintiffs assert that “Defendants have not fully stopped the challenged

implementation,” asserting that “payments on at least some open awards remain frozen, even those

entirely unrelated to the substance of the executive orders cited in the Memo.” Id. at 20. As

discussed above, however, Plaintiffs incorrectly assume that any paused funding must necessarily

be paused as a result of the now-rescinded OMB Memo. Even assuming that some funding is

currently frozen, Plaintiffs’ allegations of continuing adverse effects would not rescue Plaintiffs’

moot claims to the extent that any ongoing freeze stems from other agency actions (not challenged

in this case) besides the OMB Memo.

       While courts have ruled that claims are not moot where there are continuing adverse effects

on the parties, it is axiomatic that those continuing effects must arise from the challenged action.

See Cnty. of Los Angeles v. Davis, 440 U.S. 625, 631 (1979) (explaining that, in order for a case

to be mooted by voluntary action, “interim relief or events” must have “eradicated the effects of

the alleged violation” (emphasis added)); S.W. Bell Tel. Co. v. FCC, 168 F.3d 1344, 1350 (D.C.

Cir. 1999) (“Where an action has no continuing adverse impact and there is no relief that a court

may grant, any request for judicial review of the action is moot.” (emphasis added)); Miccosukee

Tribe of Indians of Fla. v. United States, 259 F. Supp. 2d 1237, 1245 (S.D. Fla. Feb. 28, 2003)

(“A request for declaratory relief should be dismissed as moot if the challenged conduct has no

continuing adverse effects on the parties.” (emphasis added) (citing Super Tire Eng’g Co. v.

McCorkle, 416 U.S. 115, 122 (1974)). Here, Plaintiffs cannot escape mootness given that ongoing

pauses in funding would not be attributable to the now-rescinded OMB Memo, but rather the result

of independent and unchallenged action taken by government agencies that are not defendants in




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this case. See City of Houston, Tex. v. Dep’t of Housing & Urban Dev., 24 F.3d 1421, 1429 (D.C.

Cir. 1994) (“[I]f a plaintiff has made no challenge to some underlying policy, but merely attacks

an isolated agency action, then the mooting of the specific claim moots any claim for a declaratory

judgment that the specific action was unlawful.”).

       Notably, Plaintiffs fail to cite any case law supporting an argument that allegations of

continuing effects arising from separate action by other government agencies would be sufficient

to overcome mootness. Plaintiffs point to Row 1 Inc. v. Becerra, 92 F.4th 1138 (D.C. Cir. 2024),

noting that “the court found that allegations that contractors continued to apply the terms of []

rescinded letters were not moot.” Opp’n at 21. But that was a claim that the identical policy was

continuing to be applied; here, any agency exercising its own discretion to institute a pause would

not be implementing the OMB-directed pause that Plaintiffs seek to challenge. Moreover,

Plaintiffs ignore that the Medicare contractors allegedly continuing to implement the rescinded

policy were also defendants in that case. See Row 1 Inc. v. Becerra, No. 22-718, 2023 WL 183687,

at *1 (D.D.C. Jan. 12, 2023) (district court decision noting that Plaintiff brought claims against

“several Medicare Administrative Contractors”). Thus, it does not support Plaintiffs’ effort to

escape mootness here based on effects caused by unchallenged actions of non-defendants.

       Meanwhile, the district court decision in Miccosukee Tribe of Indians of Florida v. United

States is instructive. In that case, the plaintiff challenged a water management decision by the

U.S. Army Corps of Engineers, called the Interim Structural and Operational Plan (“ISOP”). See

259 F. Supp. at 1239. Later, the defendant adopted a superseding plan called the Interim Operating

Plan (“IOP”). See id. at 1242–43. The court ruled that the plaintiff’s claim for declaratory relief

was mooted by the adoption of the IOP, despite plaintiff’s claims of continuing adverse effects

generally caused by the defendant’s policies and procedures. See id. at 1245. The court noted that




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“[a]lthough the IOP certainly appears to incorporate many elements of the ISOPs, which the

[plaintiff] alleges have harmed and continue to harm its interests, the IOP supercedes both the

ISOP that prompted this litigation and the ISOP 2001 upon which the Supplemental Complaint

was based.” Id. “Thus, the ISOP and ISOP 2001 are already of no further legal force and effect”

and “cannot be said to have a continuing adverse effect on the [plaintiff].” Id. Therefore, since

any grant of relief on the plaintiff’s claims “would have no effect on the IOP now in place,”

plaintiff’s claims for declaratory relief were moot and any declaration “would constitute an

impermissible advisory opinion.” Id. Similarly, here, Plaintiffs’ Complaint only challenges and

asks for relief regarding the OMB Memo, and even if they assert that other Federal agencies have

implemented policies that share elements of the now-rescinded OMB Memo, the OMB Memo is

not in effect and therefore “cannot be said to have a continuing adverse effect” on Plaintiffs. Id.

Plaintiffs therefore have not established jurisdiction under both standing and mootness.

II.    PLAINTIFFS’ CLAIMS ARE NOT OTHERWISE JUDICIALLY COGNIZABLE

       A.      Plaintiffs Concede That They Cannot Challenge the President’s Executive
               Orders or Unnamed Agencies’ Implementation of Those Orders

       Importantly, Plaintiffs’ opposition concedes two critical points that narrow the scope of

their claims. To the extent this Court allows Plaintiffs’ claims to proceed in some fashion,

therefore, Plaintiffs’ claims must be limited in scope and should expressly not extend to the

President’s Executive Orders or nondefendant agencies’ implementation of those Orders.

       First, Plaintiffs concede that they cannot seek relief directly against the President or his

Executive Orders. See MTD at 12-13. It is well-established that courts have no authority to

second-guess “discretion[ary]” acts taken by the President “in the performance of his official

duties.” Mississippi v. Johnson, 71 U.S. (4 Wall.) 475, 501 (1867); see also Franklin v.

Massachusetts, 505 U.S. 788, 827 (1992) (Scalia, J., concurring in part); Newdow v. Roberts, 603



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F.3d 1002, 1013 (D.C. Cir. 2010).

       Second, Plaintiffs also concede that they cannot challenge the actions of unnamed agencies

who are not defendants in this action. See MTD at 11-12. That includes those unnamed agencies’

ongoing implementation of the President’s Executive Orders. See id. at 13-16. Indeed, Plaintiffs

expressly disavow any intent to challenge the Executive Orders or other unnamed agencies’

actions. See Opp’n at 25 (although “the government spills a great deal of ink . . . on the propriety

of the executive orders themselves, and agency implementation,” that “fundamentally

misapprehends Plaintiffs’ claims”).

       Accordingly, even if this Court allows certain claims to survive, this Court should expressly

confirm that Plaintiffs are not permitted to challenge the President’s Executive Orders or unnamed

agencies’ implementation of those Orders, and that any such claims are dismissed.

       B.      The OMB Memo Is Not Discrete, Final Agency Action

       Even as to Plaintiffs’ claims against the OMB Memo, those claims are not justiciable

because Plaintiffs do not challenge discrete, final agency action.

       First, Plaintiffs continue to ignore that the OMB Memo did not direct that any particular

funding be paused. Instead, OMB instructed that agencies must determine whether to temporarily

pause funding implicated by the Executive Orders, as consistent with the law. See OMB Memo

at 2. Thus, the OMB Memo itself did not determine legal consequences. Cf. Fund for Animals,

Inc. v. Bureau of Land Mgmt., 460 F.3d 13, 22 (D.C. Cir. 2006). Plaintiffs contend that “decisions

involving the approval of a particular grant or the terms on which grants will be extended constitute

final agency action,” Opp’n at 22, but their citations only further prove the point—their cited cases

all involve suits against the agency actually administering the grant funding, not a claim against a

precursor memorandum issued by a separate agency like the OMB Memo here.

       Plaintiffs also contend that the OMB Memo is final because it “effectively binds the


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agencies to which it is directed, withdrawing their previously-held discretion.” Opp’n at 23

(cleaned up). But the OMB Memo does not withdraw agency discretion; it reaffirms that agencies

must make their own determination as to the legality of any pause. That is fundamentally different

than Plaintiffs’ cited authority, which involved creation of a “safe harbor” that precluded an agency

from acting in the relevant circumstances. Scenic Am., Inc. v. Dep’t of Transportation, 836 F.3d

42, 56 (D.C. Cir. 2016). And to the extent any agency discretion may have been withdrawn, that

would have resulted from the policies set forth in the President’s Executive Orders—not any OMB-

ordered pause. Cf. OMB Guidance at 1 (“Any program not implicated by the President’s Executive

Orders is not subject to the pause.”).1

       In an effort to avoid some of the justiciability problems stemming from withdrawal of the

OMB Memo, Plaintiffs try to broaden their claims—characterizing them as not just challenging

the OMB Memo, but more broadly seeking relief against “the federal funding freeze” that

“emanates from the Memo.” Opp’n at 25. But this effort to recharacterize their claims only further

underscores that Plaintiffs are bringing a wide-ranging programmatic challenge, not a challenge to

discrete agency action. Just as in Lujan v. National Wildlife Federation, 497 U.S. 871 (1990), there

was no such thing as a “land withdrawal review program” because that was “simply the name by

which petitioners have occasionally referred to the continuing (and thus constantly changing)

operations of the BLM,” id. at 890, the same is true for the “funding freeze” here. There is no

singular “funding freeze,” but rather that is the name Plaintiffs attribute to the thousands of



       1
          Plaintiffs also cite National Mining Association v. Jackson, 768 F. Supp. 2d 34, 41–45
(D.D.C. 2011), see Opp’n at 24-25. But the final agency action analysis in that opinion appears to
have been overruled by Judge Kavanaugh’s subsequent opinion in National Mining Association v.
McCarthy, 758 F.3d 243, 252 (D.C. Cir. 2014), which held that the EPA guidance was not
reviewable because it “imposes no obligations or prohibitions on regulated entities.” Similarly
here, the OMB Memo imposes no obligations on individual grant recipients (who are the purported
regulated entities in Plaintiffs’ view, see Opp’n at 15).

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individual decisions made by agencies about whether particular grants or other funding should be

paused. Indeed, Plaintiffs effectively admitted as much at the TRO hearing, stating that their

claims seek relief on behalf of “tens of thousands of members” potentially affected by the “many,

many grant programs across the country.” Tr. of Jan. 28 Hrg. at 6.

       Plaintiffs also fail to meaningfully address the inevitable compliance difficulties that would

arise if their amorphous claims were allowed to proceed. See MTD at 15-16. Plaintiffs insist that

“tailored relief” is available, Opp’n at 25, but they fail to acknowledge that, in their view, an

injunction against the OMB Memo would require this Court to superintend grant disbursements

throughout the entire federal government, as confirmed by their own Complaint. See Prayer for

Relief, ¶ (c) (requesting an order that Defendants file periodic status reports “confirming the

regular disbursement and obligation of federal financial assistance funds”).

       Moreover, the administrative stay itself highlights such difficulties.         For example,

Plaintiffs’ opposition repeatedly asserts noncompliance with the Court’s stay order based on a

statement that the President’s Executive Orders remain in effect. See, e.g., Opp’n at 2, 20.

Defendants understood, however, that pauses due to the Executive Orders (and other reasons apart

from the OMB Memo) were not encompassed within the administrative stay, as discussed at the

TRO hearing. See, e.g., TRO Hrg. Tr. at 27 (“If there are executive order reasons or rationales for

the termination of other grants either before or after OMB’s guidance, perhaps they fall into the

case as we proceed but they would not be subject to the administrative stay.”); id. at 29 (“So

anything that was terminated pursuant to other executive orders I think is fodder for another

lawsuit.”). The inability to fashion specific relief against the OMB Memo (let alone to a “federal

funding freeze” that “emanates from the Memo”) is because the OMB Memo is not discrete agency

action, but rather a collection of countless independent agency actions. That is an inherent flaw in




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Plaintiffs’ claims, which requires their dismissal.

III.   PLAINTIFFS FAIL TO STATE ANY VALID CLAIMS

       A.      The D.C. Circuit Has Confirmed that Agencies Are Required to Implement
               the President’s Agenda, Consistent with Law, Which Is All That the OMB
               Memo Requires

       Plaintiffs do not dispute the fundamental proposition that the President may direct

subordinate agencies to implement his agenda, to the extent permissible by law. See, e.g., Sherley,

689 F.3d at 784 (“[A]s an agency under the direction of the executive branch, it must implement

the President’s policy directives to the extent permitted by law.”); Allbaugh, 295 F.3d at 32 (“[T]he

President’s power necessarily encompasses ‘general administrative control of those executing the

laws,’ throughout the Executive Branch of government, of which he is the head.” (quoting Myers,

272 U.S. at 164, citation omitted)). That is all that the OMB Memo requires and what it is intended

to accomplish, and therefore the Memo is lawful.

       Plaintiffs contend that “boilerplate” language in the OMB Memo about complying with the

law cannot “insulate the [Memo] from attack.” Opp’n at 26. But the relevant proviso (“to the

extent permissible under applicable law”) was not boilerplate included only one time—it was

repeated in multiple places, see OMB Memo at 2, as well as throughout the subsequent OMB

Guidance, at 1-2. Thus, the OMB Memo is legal, just like the executive order at issue in Allbaugh

that contained similar language. 295 F.3d at 33 (“In the Executive Order, the President directs his

subordinates how to proceed in administering federally funded projects, but only ‘to the extent

permitted by law.’” (modifications omitted)).

       Plaintiffs’ only response to Allbaugh is to portray it as being rooted in “the slow-moving

and complex world of government contracting[.]” Opp’n at 26. But the challengers in Allbaugh

certainly did not view government contracting that way. See 295 F.3d at 33 (upholding executive

order, even in the face of argument that “it is untenable to require each federal grantee . . . to


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challenge a threatened denial of funds . . . because projects are planned and conducted on tight and

critical timeframes”). And in any event, the D.C. Circuit’s decision was not rooted in the factual

context of government contracting; it was based on the President’s Article II authority to direct

subordinate agencies to implement his agenda. See id. at 32 (“Those [executive] officers are duty-

bound to give effect to the policies embodied in the President’s direction, to the extent allowed by

the law.”); see also Common Cause v. Trump, 506 F. Supp. 3d 39, 47 (D.D.C. 2020).

       The Allbaugh decision therefore reveals an overarching flaw in all of Plaintiffs’ claims. It

is not unlawful for OMB to tell agencies to implement the President’s agenda consistent with the

law, as those agencies are already required to do. Nor can Plaintiffs simply assume that agencies

will pause funding in a manner that violates the First Amendment or other legal constraints,

contrary to the directions in the OMB Memo itself. See Citizens to Pres. Overton Park, Inc. v.

Volpe, 401 U.S. 402, 415 (1971) (agencies are “entitled to a presumption of regularity”). Because

their claims necessarily require assuming that agencies will not follow the directive in the OMB

Memo to act consistent with the law, Plaintiffs’ claims all fail.

       B.      OMB Undoubtedly Has Authority to Advise Agencies on Implementing the
               President’s Budget Directives

       Even ignoring Allbaugh, Plaintiffs’ claims still fail for numerous reasons. Plaintiffs

contend that OMB lacks statutory authority to temporarily pause funds, Opp’n at 27, but they

ignore that the central purpose of OMB—approved by Congress in connection with the President’s

reorganization plan—is to “assist[] the President in the preparation of the annual Federal budget

and oversee[] its execution.” Reorganization Plan No. 2 of 1970, Message of the President, 5

U.S.C. App’x 1, reprinted in 1970 U.S.C.C.A.N. 6315, 6316 (emphasis added).

       Even based on the authorities in 31 U.S.C. § 503, OMB has authority to issue “policies and

directives,” including with respect to “[m]onitor[ing] the financial execution of the budget” and



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“[p]rovid[ing] overall direction and leadership to the executive branch on financial management

matters.” 31 U.S.C. § 503(a)(2), (5), (14). Those authorities, naturally read, plainly extend to

providing instructions to agencies on temporary pauses in funding to ensure that such funding is

consistent with the President’s priorities.

       As noted, temporary pauses in funding are commonplace, see MTD at 21, yet Plaintiffs’

theory would nonsensically forbid OMB from providing instructions to agencies in all such

circumstances. In response to the documented history of funding pauses, Plaintiffs argue that the

D.C. Circuit in City of New Haven v. United States, 809 F.2d 900, 908 (D.C. Cir. 1987), “held

invalid the law under which the administration had acted,” Opp’n at 29. But the invalidity was

based on an unconstitutional legislative veto—not a determination that delays in funding were

inherently unlawful as Plaintiffs imply.

       Plaintiffs also contend that “Defendants muster no precedent remotely resembling the

broad, indefinite freeze OMB ordered.” Opp’n at 28. But again, that is a distorted characterization

of the OMB Memo, particularly in light of the OMB Guidance. Regardless, it is common for

Presidents to pause different types of agency action—including funding—based on policy

concerns, including directing pauses that are effective immediately and are longer in duration than

what the OMB Memo contemplated here. See, e.g., Procl. No. 10,142, Termination of Emergency

With Respect to the Southern Border of the United States and Redirection of Funds Diverted to

Border Wall Construction, 86 Fed. Reg. 7225 (Jan. 20, 2021), § 1(a)(ii) (directing agencies to

“pause immediately the obligation of funds related to construction of the southern border wall, to

the extent permitted by law,” with no specific end date but requiring a plan within 60 days);

Ensuring Responsible Spending of Recovery Act Funds, 74 Fed. Reg. 12531 (Mar. 20, 2009),

§ 2(d)(i) (“Where legally permissible, the department or agency shall . . . delay funding of the




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project for 30 days[.]”); see also, e.g., Exec. Order. No. 14,008, Tackling the Climate Crisis at

Home and Abroad, 86 Fed. Reg. 7619 (Jan. 27, 2021), § 208 (“To the extent consistent with

applicable law, the Secretary of the Interior shall pause new oil and natural gas leases on public

lands or in offshore waters pending completion of a comprehensive review,” with no specific end

date); Exec. Order No. 13990, Protecting Public Health and the Environment and Restoring

Science To Tackle the Climate Crisis, 86 FR 7037 (Jan. 20, 2021), § 4(a) (“[T]he Secretary of the

Interior shall, as appropriate and consistent with applicable law, place a temporary moratorium on

all activities of the Federal Government relating to the implementation of the Coastal Plain Oil and

Gas Leasing Program,” with no specific end date). Plaintiffs’ statutory theory would preclude

OMB from implementing any of these measures, a proposition squarely at odds with Article II and

the D.C. Circuit’s decisions recognizing the President’s authority to direct agencies to effectuate

his agenda. OMB, as the primary overseer of budget execution, may lawfully assist the President

by instructing agencies on how to administer their funding consistent with law.

       C.      A Temporary Pause in Funding Is Not Arbitrary and Capricious

       When the Founders designed the Executive Branch under Article II, “they sought to

encourage energetic, vigorous, decisive, and speedy execution of the laws.” Clinton v. Jones, 520

U.S. 681, 712 (1997). Plaintiffs now argue those very features of the OMB Memo are so irrational

as to be legally invalid. But there is nothing irrational about a temporary pause in funding, to the

extent permissible by law, pending a review to ensure compliance with the President’s priorities.

That is precisely what OMB and other subordinate agencies are legally required to do; it cannot

be irrational for them to comply with the law in such a manner. Sherley, 689 F.3d at 784 (“[A]s

an agency under the direction of the executive branch, it must implement the President’s policy

directives to the extent permitted by law.”). Indeed, requiring a federal agency to articulate a

rationale for its action—beyond simple compliance with the President’s directives—would, in


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essence, subject the President’s directive to arbitrary and capricious review, contrary to the

principle that the President is not an agency under the APA. Franklin, 505 U.S. at 800-01.

       In any event, the OMB Memo cogently explains that a temporary pause is necessary to

“provide the Administration time to review agency programs and determine the best uses of the

funding for those programs consistent with the law and the President’s priorities.” OMB Memo.

at 2. This directly connects to the stated goal of “safeguard[ing] valuable taxpayer resources.” Id.

at 1. Plaintiffs argue that “Defendants failed to provide any cogent explanation for why any

‘assessment’ . . . could not have occurred while funding continues disbursement as usual.” Opp’n

at 31. But the answer is simple: resources are finite, and the Executive is entitled to ensure that all

funding aligns with the President’s priorities to the extent permissible by law. The Executive’s

policy judgment to conserve federal resources in that manner should not be subject to “judicial

second-guessing of agency discretion.” Crumpton v. Stone, 59 F.3d 1400, 1406 (D.C. Cir. 1995);

see also State Farm, 463 U.S. at 43 (the scope of review under the “arbitrary and capricious”

standard is “narrow and a court is not to substitute its judgment for that of the agency.”).

       Contrary to Plaintiffs’ suggestion, the OMB Memo does not “fail[] to take into account the

obvious and immediate harms produced by abruptly halting . . . assistance.” Opp’n at 30. First,

recognizing potential consequences for individuals, the OMB Memo exempted “assistance

provided directly to individuals,” specifically mentioning “Medicare or social security benefits.”

OMB Memo at 1 nn.1-2; see also OMB Guidance at 1-2. Second, the OMB Memo recognized

that, despite the need for a pause and review of certain assistance, there may be some particular

circumstances warranting a different approach, and thus provided for a safety valve: “OMB may

grant exceptions allowing Federal agencies to issue new awards or take other actions on a case-

by-case basis.” OMB Memo at 2. Third, the OMB Memo was explicit that it directed only a




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temporary pause and review, not anything more significant such as outright cancellation of any

grants. And fourth, the OMB Memo provided a delayed effective date, with OMB acting quickly

even before that effective date to “approve[] many programs to continue even before the pause has

gone into effect.” OMB Guidance at 1. Those efforts do not reflect wholesale ignoring of real-

world consequences, but rather an attempt to balance those consequences with the stated objectives

of “act[ing] as faithful stewards of taxpayer money” and ensuring that federal programs “are being

executed in accordance with the law and the new President’s policies.” Id. at 2.

        To the extent Plaintiffs disagree with OMB’s weighing of the possible consequences, this

reflects only a difference in policy perspective. And Plaintiffs do not dispute that, under their

theory, the President and OMB would be required to provide agencies a specific period of time

before those agencies could be directed to take actions to implement the President’s agenda, lest

such actions be deemed arbitrary and capricious. That result would be squarely at odds with past

Administrations’ Executive Orders directing immediate pauses in certain activities, including

disbursement of funds. Particularly in light of this history and the impractical nature of Plaintiffs’

theory, OMB’s reasoning here was sufficient to “meet[] a minimum rationality standard” that

entitles it to a “presumpti[on] [of] valid[ity].” Sierra Club v. EPA, 353 F.3d 976, 978 (D.C. Cir.

2004) (citation omitted).

        As for reliance interests, Plaintiffs still do not carry their burden of proving specific

interests in the particular timing of any grant funding. And OMB’s instruction to agencies to

implement the pause, to the extent permissible by law, does not foreclose agency consideration of

any such interests. It is perfectly rational for OMB to expect agencies, as the ones who actually

administer grants and know their terms, to determine whether a temporary pause is appropriate for

that particular grant and its grantees.




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       In short, there is nothing irrational about the OMB Memo’s acting expeditiously to place a

temporary pause on certain forms of assistance, to the extent permissible by law, pending a review

to ensure the fundings’ usage aligns with Presidential priorities and is not contributing to wasteful

spending, as OMB (and individual agencies) are required to do. Sherley, 689 F.3d at 784.

       D.      The Government May Implement Its Policy Views Through Financial
               Assistance Programs Without Running Afoul of the First Amendment

       “When government speaks, it is not barred by the Free Speech Clause from determining

the content of what it says . . . [t]hus, government statements (and government actions and

programs that take the form of speech) do not normally trigger the First Amendment rules designed

to protect the marketplace of ideas.” Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576

U.S. 200, 207 (2015). Moreover, as Defendants originally explained (and Plaintiffs do not

contest), so long as the government follows existing law, as the OMB Memo and Executive Orders

direct, the Administration “‘may make value judgment[s]’” and “‘implement th[ose] judgment[s]

by the allocation of public funds.’” Rust v. Sullivan, 500 U.S. 173, 192-93 (1991) (quoting Maher

v. Roe, 432 U.S. 464, 474 (1977)). Those principles foreclose Plaintiffs’ claim here.

       Plaintiffs criticize certain language in the OMB Memo (and the President’s Executive

Orders), Opp’n at 32, but that is nothing more than Plaintiffs’ policy disagreements masquerading

as a First Amendment claim. The OMB Memo does not restrict Plaintiffs’ speech, but rather

implements the Government’s own speech, which Plaintiffs cannot use the First Amendment to

challenge. Cf. Walker, 576 U.S. at 207 (“[T]he Free Speech Clause helps produce informed

opinions among members of the public, who are then able to influence the choices of a government

that, through words and deeds, will reflect its electoral mandate.”).

       Plaintiffs accuse the OMB Memo of being an effort to “facilitate the identification of and,

ultimately, termination of funding for certain recipients.” Opp’n at 34. But the OMB Memo’s



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pause applies evenly to all recipients in the programs implicated by the President’s Executive

Orders. And the Executive, as part of its authority to choose what activities to fund, need not be

neutral as to the programs it seeks to review. Any contrary rule would essentially foreclose the

Government from ever pausing or modifying only certain programs.

       Nor can the OMB Memo reasonably be portrayed as “a promise that dissenters will be

punished through the loss of already awarded federal financial assistance.” OMB Memo at 32.

The text of the Memo emphasizes that it is focused on “safeguard[ing] valuable taxpayer

resources” and undoing certain policies that do not align with the President’s agenda. OMB Memo

at 1. Again, choosing which policies to fund is not a First Amendment violation for the potential

recipients of such funding. Cf. O’Hare Truck Serv., Inc. v. City of Northlake, 518 U.S. 712, 725

(1996) (“If the government terminates its affiliation with a service provider for reasons unrelated

to political association . . . there will be no First Amendment violation. These are choices and

policy considerations that ought to remain open to government officials when deciding to contract

with some firms and not others.”).

       Finally, Plaintiffs invoke the unconstitutional conditions doctrine, Opp’n at 33, but they

still do not specify any new condition that has been imposed. Plaintiffs acknowledge that the

government “can, without offending the Constitution, selectively fund certain programs to address

an issue of public concern, without funding alternative ways of addressing the same problem.”

Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 217 (2013) (citing Rust, 500

U.S. at 173). They also cite Archdiocese of Washington v. Washington Metro. Area Transit Auth.

for the point that “the government may place speech-restrictive conditions on participation in its

programs if those conditions are confined to the scope of the program.” 897 F.3d 314, 336 (D.C.

Cir. 2018). The OMB Memo is well within those principles, and Plaintiffs’ theory would transform




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every pause or suspension in grant funding on policy grounds into a First Amendment violation.

See Opp’n at 34 (arguing that “the freeze will deprive existing recipients of funding they have

already been determined eligible for” and therefore violates the unconstitutional conditions

doctrine). That theory is untenable, and Plaintiffs’ First Amendment claim is meritless and should

be dismissed.

                                        CONCLUSION

       This entire action should be dismissed, because Plaintiffs have not established this Court’s

subject-matter jurisdiction and they fail to state any claims upon which relief may be granted.




Dated: February 1, 2025                      Respectfully submitted,

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